                           UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                 EASTERN DIVISION


JOHN DOE,                                       )
                                                )
                              Plaintiff,        )
                                                )
        v.                                      )                JUDGMENT
                                                )
EAST CAROLINA UNIVERSITY, CECIL                 )              4:18-CV-137-BO
STANTON, JR., individually and as agent for     )
East Carolina University, VIRGINIA HARDY,       )
individually and as agent for East Carolina     )
University, TAMIKA WORDLOW, individually )
and as agent for East Carolina University,      )
CAITLIN BUTLER, individually and as agent for )
East Carolina University, LYNN ROEDER,          )
individually and as agent for East Carolina     )
University, HEIDI BONNER, individually and as )
agent for East Carolina University, KATHLEEN )
FLANAGEN, individually and as agent for East    )
Carolina University, CHRISTINA RAGONE,          )
PATRICK SKIPPER, individually and as agent      )
for East Carolina University, BRET WILSON,      )
individually and as agent for East Carolina     )
University, MANDY MESSERLI, individually        )
and as agent for East Carolina University, JOHN )
BELLFLOWER, JR., individually and as agent for )
East Carolina University,                       )
                                                )
                              Defendants.       )
                                                )

Decision by Court.
This matter is before the Court on a variety of motions. Plaintiff has moved to proceed
anonymously and to obtain leave to file a protective order. [DE 6]. Defendants moved for a
preservation order preventing the expunction of plaintiff’s state criminal records [DE 34], but as
plaintiff has already obtained an expunction, defendants now move to supplement that motion
and obtain alternative relief [DE 54]. Defendants have also moved to dismiss plaintiff’s
complaint. [DE 44]. Both parties have moved to seal various documents. [DE 36, 37, 40, 42, 53].

IT IS ORDERED, ADJUDGED AND DECREED that plaintiff’s motion to proceed
anonymously and file a protective order [DE 6] is GRANTED IN PART and DENIED IN
PART, defendants’ motion to dismiss [DE 44] is GRANTED, defendants’ motion for a



          Case 4:18-cv-00137-BO Document 59 Filed 02/05/19 Page 1 of 2
preservation order is DENIED, and the motions to seal [DE 36, 37, 40, 42, 53] are GRANTED.
Defendants’ motion to amend their motion for a preservation order [DE 43] is DENIED AS
MOOT.

This case is closed.

This judgment filed and entered on February 5, 2019, and served on:
Andrew Miltenberg (via CM/ECF NEF)
Kara Gorycki (via CM/ECF NEF)
Matthew Sullivan (via CM/ECF NEF)
Dan Hartzog (via CM/ECF NEF)
Dan McCord Hartzog, Jr. (via CM/ECF NEF)
Katherine Barber-Jones (via CM/ECF NEF)




                                          PETER A, MOORE, JR., CLERK
February 5, 2019
                                          /s/Lindsay Stouch
                                          By: Deputy Clerk




          Case 4:18-cv-00137-BO Document 59 Filed 02/05/19 Page 2 of 2
